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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                NEW BERN DIVISION

 IN RE:                                       )
                                              )              Case No. 24-04510-5-JNC
 THE LITTLE MINT, INC.                        )
                                              )              Chapter 11
                Debtor.                       )

    MOTION TO REJECT CERTAIN UNEXPIRED LEASES OF NON-RESIDENTIAL
                          REAL PROPERTY

       COMES NOW The Little Mint, Inc. (the “Debtor”), by and through its undersigned counsel,

 pursuant to 11 U.S.C. § 365 and files this Motion to Reject Certain Unexpired Leases of Non-

 Residential Real Property (“Motion”), seeking entry of an order immediately rejecting certain

 unexpired leases as detailed herein. In support of this Motion, the Debtor shows the Court the

 following:

        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.      The Debtor filed a voluntary petition pursuant to Chapter 11 of the United States

 Bankruptcy Code on December 31, 2024. The Debtor continues in possession of its assets,

 operates its business, and manages its affairs as a debtor-in-possession pursuant to §§ 1107(a) and

 1108 of the Bankruptcy Code.

        3.      The Little Mint, Inc. (the “Debtor”) is a North Carolina corporation, founded in

 1991 and headquartered in Mount Olive, North Carolina, that operates a fast casual restaurant

 chain known as “Hwy 55 Burger Shakes & Fries”. In addition to its corporate office, the Debtor

 currently has 93 locations, consisting of 22 corporate-owned stores and 71 franchised stores. Prior

 to filing, the Debtor closed 13 corporate-owned stores. The stores are located primarily throughout
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 the Southeast, with operations in North Carolina, South Carolina, Georgia, Florida, Tennessee and

 Texas.

                   Request for Rejection of Unexpired Leases of Real Property

           4.    As part of its efforts to restructure, the Debtor closed some of its corporate-owned

 stores (the “Closed Corporate Stores”) and seeks to immediately reject the associated leases. In

 addition to the Closed Corporate Stores, the Debtor has reviewed and identified certain leases that

 are a burden on the Debtor and its estate and are likely to continue to drive losses for the Debtor,

 as well as certain leases related to restaurant locations that were previously closed, on which the

 Debtor may or may not have potential remaining liability.

           5.    The Debtor requests that the leases associated with the Closed Corporate Stores and

 all other leases set forth on the attached Exhibit A (collectively, the “Rejected Leases’), be rejected

 immediately, as of the date of this Motion.

           6.    To the extent that they were not terminated prior to the Petition Date or subject to

 immediate termination by receipt of this Motion, the Debtor requests that each of the Rejected

 Leases be deemed rejected as of the date of this Motion.

           7.    The Rejected Leases require the payment of base monthly rent, applicable sales

 taxes, and prorated common area and real estate tax expenses associated with each applicable

 location. The Rejected Leases remaining at the identified properties have no value or benefit to the

 estate.

           8.    The Rejected Leases are not necessary to the Debtor’s reorganization, have no value

 to the estate, and their rejection is in the best interests of the estate and its creditors.

           9.    The Debtor seeks to reject the Rejected Leases in accordance with principles of

 sound business judgment and the circumstances of this case. The Rejected Leases are, and will
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 continue to be, a burden to the Debtor’s estate. There are no longer operations at some of the

 particular restaurants subject to the Rejected Leases, and the Debtor has no further use for those

 locations. The Debtor has vacated or will vacate these premises as of the Petition Date, and the

 Rejected Leases no longer provide any economic benefit to the Debtor’s estate.

           10.     Additionally, the Debtor has determined, in its reasonable business judgment, that

 there is no net benefit that can be realized from an attempt to market and assign the Rejected

 Leases.

           11.    To the extent notice of the Debtor’s intention to reject the Rejected Leases and has

 not been previously provided, the filing and service of this Motion shall serve as notice of the

 Debtor’s intention to reject the Rejected Leases listed on Exhibit A. A proposed order is attached

 hereto as Exhibit B.

           Request for Bar Date for Assertion of Claims Related to the Rejected Leases

           12.    In addition to the rejection of the Rejected Leases, the Debtor requests that the

 Court set a bar date for the assertion of any claims related to the rejection of the Rejected Leases,

 or arising out of or related to the subject of any of the Rejected Leases as follows:

                  a.      Any claim arising from the rejection of any of the Rejected Leases and

           LEASES shall be filed within 30 days after the date of the entry of the order allowing this

           Motion, and if not timely filed any such claim shall be barred; and

                  b.      Any creditor believing it is entitled to an administrative claim arising out of

           or related to the subject of any of the Rejected Leases shall file with the Court within 30

           days after the date of the entry of the Order allowing this Motion (the “Administrative Bar

           Date”) a Motion or Request for Allowance of Administrative Expense Claim, and if such

           a motion or request is not timely filed any such claim shall be barred. It shall not be
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        sufficient for a creditor to file a proof of claim asserting an administrative claim arising out

        of or related to any of the Rejected Leases without timely filing by the Administrative Bar

        Date of an appropriate Motion or Request for Allowance of Administrative Expense Claim.

        Any proofs of claim filed by a creditor asserting an administrative claim arising out of or

        related to any of the Rejected Leases that are filed without the creditor’s timely filing by

        the Administrative Bar Date of an appropriate Motion or Request for Allowance of

        Administrative Expense Claim shall be disallowed.

                c.       The Debtor reserves any and all rights to object to any rejection damage

        claims or other claims filed by any Counterparty.

        WHEREFORE, the Debtor prays for the following relief:

        1.      That the Court enter an order providing that, to the extent that the Rejected Leases

 were not terminated prior to the Petition Date or subject to immediate termination by receipt of

 this Motion, the Rejected Leases are rejected as of the date of this Motion;

        2.      That the Court set a bar date for the assertion of any claims related to the rejection

 of the Rejected Leases or arising out of or related to the subject of any of the Rejected Leases as

 requested herein; and

        3.      For such other and further relief as the Court may deem just and proper.

  Dated: December 31, 2024                       HENDREN, REDWINE & MALONE, PLLC

                                                 /s/ Lydia C. Stoney
                                                 Jason L. Hendren (NC State Bar No. 26869)
                                                 Rebecca F. Redwine (NC State Bar No. 37012)
                                                 Benjamin E.F.B. Waller (NC State Bar No. 27680)
                                                 Lydia C. Stoney (NC State Bar No. 56697)
                                                 4600 Marriott Drive, Suite 150
                                                 Raleigh, NC 27612
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                                      Counsel for the Debtor
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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 NEW BERN DIVISION

 IN RE:                                        )
                                               )               Case No. 24-04510-5-JNC
 THE LITTLE MINT, INC.                         )
                                               )               Chapter 11
                Debtor.                        )

                                      NOTICE OF MOTION

         NOTICE IS HEREBY GIVEN of the MOTION TO REJECT CERTAIN UNEXPIRED
 LEASES OF NON-RESIDENTIAL REAL PROPERTY (“Motion”) filed simultaneously herewith
 in the above captioned case; and,

        FURTHER NOTICE IS HEREBY GIVEN that the Motion may be allowed provided
 no response and request for a hearing is made by a party in interest in writing to the Clerk of
 this Court within FOURTEEN (14) DAYS; and

         FURTHER NOTICE IS HEREBY GIVEN that, if a response and request for a hearing is
 filed by a party in interest in writing within the time indicated, a hearing will be conducted on the
 Motion and response thereto at a date to be determined by the United States Bankruptcy Court.
 Any party requesting a hearing shall appear at said hearing in support of such request or he may
 be assessed Court costs. If no request for a hearing is timely filed, the Court may rule on the
 Motion and response thereto ex parte without further notice.

        DATED: December 31, 2024               HENDREN, REDWINE & MALONE, PLLC

                                               /s/ Lydia C. Stoney
                                               Jason L. Hendren (NC State Bar No. 26869)
                                               Rebecca F. Redwine (NC State Bar No. 37012)
                                               Benjamin E.F.B. Waller (NC State Bar No. 27680)
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                                               Counsel for the Debtor
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                                   EXHIBIT A

                               Leases to be Rejected
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                                           EXHIBIT B




                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                NEW BERN DIVISION

 IN RE:                                       )
                                              )              Case No. 24-04510-5-JNC
 THE LITTLE MINT, INC.                        )
                                              )              Chapter 11
                Debtor.                       )

   ORDER ALLOWING MOTION TO REJECT CERTAIN UNEXPIRED LEASES OF
                 NON-RESIDENTIAL REAL PROPERTY

        THIS MATTER comes before the Court upon the Debtor’s Motion to Reject Certain

 Executory Contracts with the City of Raleigh which was filed on December 31, 2024 (the

 “Motion”). After proper notice and an opportunity for a hearing and based on the record in this

 case and the evidence presented, it appears that the Motion was duly served and that the relief

 requested therein is proper and should be granted. Accordingly, based on the Motion and the

 record in this case, the Court makes the following findings of fact and conclusions of law:

        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.      The Debtor filed a voluntary petition pursuant to Chapter 11 of the United States

 Bankruptcy Code on December 31, 2024. The Debtor continues in possession of its assets,

 operates its business, and manages its affairs as a debtor-in-possession pursuant to §§ 1107(a) and

 1108 of the Bankruptcy Code.
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         3.     The Little Mint, Inc. (the “Debtor”) is a North Carolina corporation, founded in

1991 and headquartered in Mount Olive, North Carolina, that operates a fast casual restaurant

chain known as “Hwy 55 Burger Shakes & Fries”. In addition to its corporate office, the Debtor

currently has 93 locations, consisting of 22 corporate-owned stores and 71 franchised stores. Prior

to filing, the Debtor closed 13 corporate-owned stores. The stores are located primarily throughout

the Southeast, with operations in North Carolina, South Carolina, Georgia, Florida, Tennessee and

Texas.

         4.     As part of its efforts to restructure, the Debtor closed some of its corporate-owned

stores (the “Closed Corporate Stores”) and seeks to immediately reject the associated leases. In

addition to the Closed Corporate Stores, the Debtor has identified certain leases that are a burden

on the Debtor and its estate and are likely to continue to drive losses for the Debtor, as well as

certain leases related to restaurant locations that were previously closed, on which the Debtor may

or may not have potential remaining liability.

         5.     Prior to the Petition Date, the Debtor entered into certain leases as set forth in

Exhibit A, which, if they have not already been terminated or are not subject to immediate

termination, the Debtor desires to reject immediately and as of the date of this Motion (collectively,

the “Rejected Leases’).

         6.     The Rejected Leases are not necessary to the Debtor’s reorganization, have no value

to the estate, and their rejection is in the best interests of the estate and its creditors.

         7.     It is appropriate to establish a bar date of 30 days from the entry of this Order for

the assertion of any claims arising from the rejection of any of the Rejected Leases, or arising out

of or related to the subject of any of the Rejected Leases.
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       NOW, THEREFORE, in consideration of the above findings of fact and conclusions of

law, IT IS ORDERED as follows:

       1.      To the extent that the Rejected Leases were not terminated prior to the Petition Date

or subject to immediate termination by receipt of the Motion, the Rejected Leases are rejected as

of the date of the Motion.

       2.      Any claim arising from the rejection of any of the Rejected Leases shall be filed

within 30 days after the date of the entry of this Order, and if not timely filed any such claim shall

be barred.

       3.      Any creditor believing it is entitled to an administrative claim arising out of or

related to the subject of any of the Contracts shall file with the Court within 30 days after the date

of the entry of this Order (the “Administrative Bar Date”) a Motion or Request for Allowance of

Administrative Expense Claim, and if such a motion or request is not timely filed any such claim

shall be barred. It shall not be sufficient for a creditor to file a proof of claim asserting an

administrative claim arising out of or related to any of the Rejected Leases without timely filing

by the Administrative Bar Date of an appropriate Motion or Request for Allowance of

Administrative Expense Claim. Any proofs of claim filed by a creditor asserting an administrative

claim arising out of or related to any of the Contracts that are filed without the creditor’s timely

filing by the Administrative Bar Date of an appropriate Motion or Request for Allowance of

Administrative Expense Claim shall be disallowed.
